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UNITED STATES DISTRICT COURT                                                             1/5/2021 12:15 pm
EASTERN DISTRICT OF NEW YORK                                                                U.S. DISTRICT COURT
 --------------------------------------------------------------x                       EASTERN DISTRICT OF NEW YORK
CHRISTOPHER E. BROWN,                                          :                            LONG ISLAND OFFICE
an individual,                                                 :
                                                               :       Case No.:2:20-cv-04396-JMA-ARL
                  Plaintiff,                                   :
vs.                                                            :
                                                               :
MERRICK SHOPPING CENTER, INC.,                                 :
                                                                          Case closed.
a New York Corporation,                                        :
                                                                          SO ORDERED.
                                                               :
                                                                          /s/ JMA, USDJ
                  Defendant.                                   :
---------------------------------------------------------------x          1/5/2021


                           STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff and Defendant, by and through their undersigned counsel, pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby stipulate to dismiss this action

with prejudice of all claims, and except as otherwise agreed, each party shall bear its respective

fees and costs.

Dated: January 4, 2021

Respectfully submitted,                                      Respectfully submitted,

/s/ Brian T. Ku           .                                  /s/ Michael B. Mirotznik    .
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Attorneys for Plaintiff




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